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                                                                                                       Rev. /2018


                  UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                           FOR THE DISTRICT OF COLUMBIA

RUTH SCHWARTZ, et al.,

_________________________________________
                        Plaintiff(s)

       vs.                                                         Civil Action No.: 18-cv-01349-RDM
ISLAMIC REPUBLIC OF IRAN,

_________________________________________
                        Defendant(s)


                               AFFIDAVIT REQUESTING FOREIGN MAILING

       I, the undersigned, counsel of record for plaintiff(s), hereby request that the Clerk mail a copy of the
judgment and complaint (and notice of suit,
summons                                    where applicable) to (list name(s) and address(es) of defendants):
Dr. Hossein Amir-Abdollahian
Ministry of Foreign Affairs
Islamic Republic of Iran
Imam Khomeni Avenue
Tehran, Iran


by: (check one)                ެ✔     FHUWLILHGRUregistered mail, return receipt requested
                               ެ      DHL
                               ެ      Fed Ex
pursuant to the provisions of: (check one)
                               ެ      FRCP 4(f)(2)(C)(ii)
                               ެ✔     28 U.S.C. § 1608(a)(3)
                               ެ      28 U.S.C. § 1608(b)(3)(B)
                               ެ      28 U.S.C. § 1608(a)(4)




                                                                        /s/ Aaron Schlanger
                                                                              (Signature)




                                                                         (Name and Address)
